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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

Honorable Anthony W. Ishii                      RE: Sukhraj Dhaliwal
Senior United States District Judge                 Docket Number: 0972 1:08CR00212-003
Fresno, California                                  PERMISSION TO TRAVEL
                                                    OUTSIDE THE COUNTRY

Your Honor:


Sukhraj Dhaliwal is requesting permission to travel to Punjab, India. Sukhraj Dhaliwal is current
with all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On March 22, 2010, Sukhraj Dhaliwal was sentenced for the
offenses of 21 U.S.C. 841(a)(1), 841(b)(1)(A), and 846-Conspiracy to Distribute and to Possess
With Intent to Distribute Cocaine; and 21 U.S.C. 841(a)(1), 841(b)(1)(A), and 846-Attempted
Possession With Intent to Distribute Cocaine.


Sentence Imposed: 120 months Bureau of Prisons; 60 months Term of Supervised Release; No
Firearms; DNA Collection; and $200 Special Assessment.


Dates and Mode of Travel: The defendant requests to travel from February 22, 2018 through
March 30, 2018.


Purpose: The defendant advised his sister, who lives in Punjab, India is very ill and would like
to be by her side.




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Sukhraj Dhaliwal
         Docket Number: 0972 1:08CR00212-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,




                                        Adrian Garcia
                                United States Probation Officer

Dated:     February 6, 2018
           Fresno, California



REVIEWED BY:                  /s/ Tim D. Mechem
                            Tim D. Mechem
                            Supervising United States Probation Officer



                                 ORDER OF THE COURT

The Court orders:

         ☒Approved ☐ Disapproved



IT IS SO ORDERED.

Dated: February 8, 2018
                                          SENIOR DISTRICT JUDGE




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
